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UNITED sTATEs I)ISTRICT CoURT *“~E'»’ " l ‘

WESTERN DISTRICT oF TENNESSEE
Western Division

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UNITED sTATEs oF AMERICA "§_‘-, 5 1 ,,-_Wé

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-vs- Case No. 2:05€r20091~00]B
sIDNEY THURMAN

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointinth of counsel. Accordingly,
the Coui't makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
' The F ederal Public Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT

' All purposes including trial and appeal

DONE and ORDERED in 167 Norl:h Main, Memphis, this =Y'L day of May, 2005.

<§TFM@J

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

 

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Office

Assistant Federal Public Defender
lntake

SIDNEY THURMAN

This document entered on the docket heat in compliance
with ante 55 and/or 32(b) FF\ch on §Y§§lj §§ / /

 

Notice of Distribution

This notice confirms a copy of the document docketed as number ll in
case 2:05-CR-2009l Was distributed by faX, mail, or direct printing on
May 24, 2005 to the parties listed.

 

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FEDERAL PUBLIC DEFENDER
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Honorable J. Breen
US DISTRICT COURT

